      Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 1 of 19 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

HARLEYSVILLE LAKE STATES
INSURANCE COMPANY, as subrogee of
ARTURO GARZA                                           Case No. __________________

       Plaintiff,

v.

ELECTROLUX NORTH AMERICA, INC.,
and ELECTROLUX HOME PRODUCTS,
INC.

       Defendants.


                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Electrolux Home Products,

Inc. (incorrectly sued as Electrolux North America, Inc.) (“Electrolux”), by and through its

attorneys, files this Notice of Removal, removing a civil action titled Harleysville Lake States

Insurance Company, as subrogee of Arturo Garza v. Electrolux North America, Inc. and

Electrolux Home Products, Inc., Case No. 2015-L-002896, from the Circuit Court of Cook

County, Illinois, County Department, Law Division, to the United States District Court for the

Northern District of Illinois, Eastern Division. In support of this Notice, Electrolux Home

Products states as follows:

                     BACKGROUND AND PROCEDURAL HISTORY

       1.      On or about March 20, 2015, Plaintiff filed a civil action against Electrolux in the

Circuit Court of Cook County, Illinois, captioned Harleysville Lake States Insurance Company,

as subrogee of Arturo Garza v. Electrolux North America, Inc. and Electrolux Home Products,

Inc., and appearing on that court’s docket as case No. 2015-L-002896 (the “State Court Action”).
        Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 2 of 19 PageID #:2



          2.      Electrolux was served the Complaint and Summons for the State Court Action on

March 26, 2015.

          3.      Plaintiff’s Complaint in the State Court Action alleges three Illinois common law

causes of action against Electrolux, as follows: (1) Count I – Negligence, (2) Count II – Products

Liability, (3) Count III – Breach of Warranty.

          4.      The following process, pleadings, and orders have been served thus far in the

State Court Action, and pursuant to 28 U.S.C. § 1446(a), all of those documents are attached

hereto:

               a. Plaintiff’s Complaint, filed March 20, 2015, attached as Exhibit A.

               b. Plaintiff’s Summons, served March 26, 2015, attached as Exhibit B.

                   PROPRIETY OF REMOVAL: DIVERSITY JURISDICTION

          5.      Plaintiff is an insurance company incorporated in the State of Michigan with its

principal place of business located in Traverse City, Michigan.

          6.      Electrolux is a corporation incorporated in the State of Delaware with its principal

place of business in Georgia

          7.      The parties are all citizens of different States.

          8.      Plaintiff’s Complaint demonstrates the amount in controversy exceeds $75,000 as

Plaintiff requests judgment on each of the three Counts “in excess off $486,166.23.” Exhibit A

at 4, 6-7.

          9.      By reasons of the foregoing, this Court has original jurisdiction over this action

pursuant to 28 U.S.C. § 1332(a). There is diversity of citizenship, and the amount in controversy

exceeds $75,000. Removal of the action to this Court is therefore proper pursuant to 28 U.S.C. §

1441.




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                                              VENUE

       10.     Venue for this removal action is proper in the Northern District of Illinois, Eastern

Division of the United States District Court because the territorial jurisdiction of this Court

includes the Cook County, Illinois, Circuit Court in which Plaintiff filed its Complaint.

       11.     Removal to this particular Court is therefore proper pursuant to 28 U.S.C. §

1446(a).

                     COMPLIANCE WITH REMOVAL PROCEDURES

       12.     Pursuant to 28 U.S.C. § 1446(a), all papers served on Electrolux in the State Court

Action are being filed herewith.

       13.     The initial pleading in this matter is removable.

       14.     The Notice of Removal is timely filed within 30 days of service of the Complaint

upon Electrolux, pursuant to 28 U.S.C. § 1446.

       15.     Electrolux will give Plaintiff written notice of the filing of this Notice of Removal

pursuant to 28 U.S.C. § 1446(d) by serving its counsel of record with a copy of this notice of

Removal, inclusive of attachments, by regular U.S. first class mail, postage prepaid.

       16.     Electrolux will promptly file a Notice of Filing of Notice of Removal with the

Clerk of the Cook County, Illinois, Circuit Court County Department, pursuant to 28 U.S.C. §

1446(d).




Dated: April 24, 2015                         RESPECTFULLY SUBMITTED,

                                              By: /s/ Ethan E. White
                                                 Ethan E. White
                                                 Michael I. Leonard
                                                 LEONARD LAW OFFICES
                                                 203 North LaSalle, Suite 1620



                                                  3
Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 4 of 19 PageID #:4



                                    Chicago, Illinois 60601
                                    (312) 380-6634 (direct)
                                    ewhite@leonardlawoffices.com
                                    mleonard@leonardlawoffices.com




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Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 5 of 19 PageID #:5




                       Exhibit A
       Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 6 of 19 PageID #:6




            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                   COUNTY DEPARTMENT, LAW DIVISION
                                                  20151.002896
                                    )             CALF MD AR /ROOM (,
HARLEYSVILLE LAKE STATES           )              ITZIE 00g 00
INSURANCE COMPANY, as subrogee of                  r0   r"FY Daplatue
                                   )
ARTURO GARZA                       ) Case Number:
                                   )
                 Plaintiff;           JURY DEMANDED
                                   )
           V.
                                   )
                                   )
ELECTROLUX NORTH AMERICA, INC.     )                                  r-
and ELECTROLUX HOME PRODUCTS,      )                                  cr,
INC.                               )
                                   )
                 Defendants.       )


                                             COMPLAINT

         NOW COMES Plaintiff, Harleysville Lake States Insurance Company, as subrogee of

Arturo Garza, by and through its undersigned attorneys, Cozen O'Connor, and for its Complaint

against Defendants Electrolux North America, Inc. and Electrolux Home Products, Inc., alleges

the following:

                                              PARTIES

         1.       At all times relevant, Plaintiff, Harleysville Lake States Insurance Company

(hereinafter, "Plaintiff' or "Harleysville"), was an insurance company incorporated in the State

of Michigan with its principal place of business located at 600 East Front Street, Traverse City,

Michigan, and was duly licensed to issue insurance policies in the State of Illinois.

         2.       At all times material herein, Arturo Garza ("Mr. Garza") was the owner of

residential property located at 1544 S. Washtenaw Avenue, Illinois 60608, which was rented out

to a tenant.




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      Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 7 of 19 PageID #:7




         3.        At all times material herein, Mr. Garza was insured through a policy of insurance

issued by the Plaintiff, policy number MPA00000058785R, which insured him against, inter

alia, damages to real property, as well as a loss of use or business interruption.


         4.        Defendant, Electrolux North America, Inc., is a corporation organized and

existing under the laws of Delaware, with a principal place of business located at 10200 David

Taylor Drive, Charlotte, North Carolina, 28262. At all times material herein, Electrolux North

America, Inc., was engaged in the design, manufacture, assembly, sale and/or supply of clothes

dryers for the distribution in the United States.

         5.       Defendant, Electrolux Home Products, Inc., is a corporation organized and

existing under the laws of Delaware, with a principal place of business located at 2715

Washington Road, August, Georgia. At all times material herein, Electrolux Home Products,

Inc. was engaged in the design, manufacture, assembly, sale and/or supply of clothes dryers for

the distribution in the United States. For the remainder of the complaint, Electrolux North

America, Inc. and Electrolux Home Products, Inc. will be referred to collectively as

"Electrolux."
                                             JURISDICTION & VENUE

         6.       This Court has subject matter jurisdiction because the alleged acts or omissions

giving rise to the cause of action arose in Cook County, Illinois and the amount in controversy

exceeds the jurisdictional minimum.

         7.       Venue is proper in this Court pursuant to 735 ILCS 5/2-101 as this is the county

in which a substantial part of the events giving rise to the claim occurred.




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                                         COMMON ALLEGATIONS

         8.       On or about January 2, 2014, Mr. Garza was the owner of an electric clothes dryer

that was manufactured, designed, assembled and/or supplied by Electrolux. The dryer was

installed in the utility room on the second floor of the apartment building owned by Mr. Garza

located at 1544 S. Washtenaw Avenue, Chicago, Illinois 60608.

         9.       On January 2, 2014, a fire originated in the utility room at or near where the

Electrolux dryer was placed due to the defective condition of the Electrolux dryer. The fire

caused extensive damage to the real property of Mr. Garza as well as a loss of use or business

interruption.

         10.      At all times material herein, Mr. Garza's tenant employed the Electrolux dryer for

the use for which it was intended, in the absence of any abuse and/or misuse.

         11.      As a result of the fire referred to above, and pursuant to the aforesaid policy of

insurance, Plaintiff has paid Mr. Garza the fair and reasonable cost of repairing and/or replacing

the damaged real property, as well as the loss of use or business interruption expenses he

incurred on account of the fire.

         12.      As a result of said payments, the Plaintiff is both legally and equitably subrogated

to any and all claims that the insureds may have against the defendants. (See Exhibit A)


                                         COUNT I — NEGLIGENCE

                                                  vs.

                                             ELECTROLUX


        13.       Plaintiff incorporates by reference herein the averments in paragraphs one (1)

through twelve (12) as though each were fully set forth at length herein.



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         14.       The fire referred to above and consequent damage and destruction to Mr. Garza's

property was caused by the negligence, carelessness, gross negligence and negligent omissions

of the defendants, their agents, servants and/or employees in:

                  (a)       improperly designing a dryer which allowed lint to come in contact with a
                            competent ignition source;

                  (b)       designing a dryer that allows the lint from clothes to collect in areas within
                            the dryer cabinet, where it can then be ignited by the electric heating
                            element;

                  (c)       designing a dryer that allows lint to collect in an area where it cannot be
                            cleaned by a user, and where the accumulated lint is potentially ignitable
                            by the electric heating element;

                  (d)       designing, manufacturing and assembling a dryer with combustible plastic
                            components in proximity to the electric heating element;

                  (e)       designing a dryer that failed to provide for containment of potential lint
                            fires in the area of the electric heating element;

                  (f)      failing to include appropriate and necessary warnings, including warnings
                           on the dryer cabinet that the interior cabinet must be professionally
                           cleaned every 18 months;

                  (g)      failing to include warnings in the dryer user manual that lint can
                           accumulate between the deflector and the rear heat diffuser, and about the
                           need to remove lint from this area; and

                  (h)      supplying a defectively, manufactured and/or designed product which it
                           knew or should have known subjected insureds' property to an
                           unreasonable risk of harm.
         15.      By reason of the aforesaid negligence, carelessness, gross negligence and

negligent omissions of defendants, the fire referred to in paragraph 9 took place and resulted in

damage and destruction to Plaintiffs insured's property.

         WHEREFORE, Plaintiff, Harleysville Lake States Insurance Company as subrogee of

Arturo Garza, respectfully requests this Honorable Court enter judgment against Defendants in

the amount of or in excess of $486,166.23, plus costs and other relief that this Court deems just.



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                                    COUNT II— PRODUCTS LIABILITY

                                                      vs.

                                               ELECTROLUX


         16.       Plaintiff incorporates by reference the averments in paragraphs one (1) through

twelve (12) as though each were fully set forth at length herein.

         17.       Defendants, Electrolux, by and through their agents, employees, and/or servants,

are the manufacturer, designer, assembler and seller of the subject dryer, and as such, is strictly

liable for any defects or unreasonably dangerous conditions with respect to the subject dryer.

         18.       The subject dryer was defective and in an unreasonably dangerous condition at

the time it left the Electrolux's possession and control insofar as it:

                   (a)       was defectively designed to allow lint to come in contact with a competent
                             ignition source;

                   (b)       was defectively designed to allow the lint from clothes to collect in areas
                             within the dryer cabinet, where it can then be ignited by the electric
                             heating element;

                   (c)       was defectively designed to allow lint to collect in an area where it cannot
                             be cleaned by a user, and where the accumulated lint is potentially
                             ignitable by the electric heating element;

                   (d)       designing, manufacturing and assembling a dryer with combustible plastic
                             components in proximity to the electric heating element;

                   (e)       designing a dryer that failed to provide for containment of potential lint
                             fires in the area of the electric heating element;

                             failed to include appropriate and necessary warnings, including warnings
                             on the dryer cabinet that the interior cabinet must be professionally
                             cleaned every 18 months;

                   (g)       failed to include warnings in the dryer user manual that lint can
                             accumulate between the deflector and the rear heat diffuser, and about the
                             need to remove lint from this area; and




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                   (h)       was a defectively manufactured and/or designed product that subjected
                             insured's property to a foreseeable unreasonable risk of harm.


          19.      The subject dryer reached Mr. Garza without substantial alteration or change in its

condition.

          20.      At the time of the occurrence, the subject dryer was being used in a reasonably

expectable and anticipated way, as was intended by Defendants, Electrolux, and all reasonable

consumers.

         21.       The defective and unreasonably dangerous condition and subsequent

malfunctioning of the subject dryer was the direct and proximate cause of the real property

damages sustained by Mr. Garza.

          WHEREFORE, Plaintiff, Harleysville Lake States Insurance Company as subrogee of

Arturo Garza, respectfully requests this Honorable Court enter judgment against Defendants in

the amount of or in excess of $486,166.23, plus costs and other relief that this Court deems just.


                                  COUNT III — BREACH OF WARRANTY

                                                   vs.

                                               ELECTROLUX


         22.       Plaintiff incorporates by reference herein the averments in paragraphs one (1)

through twelve (12) as though each were fully set forth at length herein.

         23.       In designing, manufacturing, assembling and/or selling the subject dryer,

Defendants, Electrolux, either expressly and/or impliedly warranted that the subject dryer would

be merchantable and/or fit for a particular purpose.




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         24.       Defendants, Electrolux, breached the warranties of merchantability and/or fitness

for a particular purpose as heretofore set forth in Counts I and II of the Complaint, which are

incorporated herein as though fully set forth.

         25.      Plaintiff has notified Electrolux North America, Inc. and Electrolux Home

Products, Inc. of this fire and requested that Defendants, Electrolux, honor their warranty, but

Defendants, Electrolux, have not done so.

         26.      The breaches of warranty by Defendants, Electrolux, were the direct and

proximate cause of the real property damages sustained by Mr. Garza.

         WHEREFORE, Plaintiff, Harleysville Lake States Insurance Company as subrogee of

Arturo Garza, respectfully requests this Honorable Court enter judgment against Defendants in

the amount of or in excess of $486,166.23, plus costs and other relief that this Court deems just.



                                                   Respectfully submitted,

                                                   COZEN O'CONNOR


                                             By:
                                                   One of Plaintiffs Attorneys

Anthony J. Morrone
COZEN O'CONNOR
333 W. Wacker Drive, Suite 1900
Chicago, IL 60606
Tel.: (312) 382-3100
Fax: (312) 382-8910
amorrone@cozen.com




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                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                      COUNTY DEPARTMENT, LAW DIVISION


HARLEYSVILLE LAKE STATES
INSURANCE COMPANY, as subrogee of
ARTURO GARZA                                         Case Number:

                        Plaintiff,                   JURY DEMANDED

                V.

ELECTROLUX NORTH AMERICA, INC.
and ELECTROLUX HOME PRODUCTS,
INC.

                        Defendant.

               AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222 (ft)

       Pursuant to Supreme Court Rule 222(B), counsel for the above-named Plaintiff certifies

that Plaintiff seeks money damages in excess of Fifty Thousand and 00/100ths Dollars

($50,000).

                                                    Respectfully submitted,

                                                    COZEN O'CONNOR


                                           By:
                                                    One of Plaintiff's Attorneys

                                                   Anthony J. Morrone
                                                   Cozen O'Connor
                                                   333 West Wacker Drive, Suite 1900
                                                   Chicago, Illinois 60606
                                                   Telephone: (312) 382-3100
                                                   Facsimile: (312) 382-8910

Subscribed and sworn bctore mc
On this'320* day of In         ,2015.                  OFFICIAL SEAL
                                                      JEAN M• GOEING
                                                Notary Public - State of Illinois
                                             My Commission Expires Aug 31,2017
                                         irmeamweemermemerquplei
      Public
Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 14 of 19 PageID #:14




                        Exhibit B
Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 15 of 19 PageID #:15


                                                                          Service of Process
                                                                          Transmittal
                                                                          03/26/2015
                                                                          CT Log Number 526824743
 TO:     Michael Bell
         Electrolux North America, Inc.
         10200 David Taylor Dr
         Charlotte, NC 28262-2373

 RE:     Process Served in Georgia
 FOR:     Electrolux Home Products, Inc. (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                   Harleysville Lake States Insurance Company, as subrogee of Arturo Garza,
                                    Pltf. vs. Electrolux North America, Inc. and Electrolux Home Products, Inc., Dfts.
 DOCUMENT(S) SERVED:               Summonses, Complaint, Affidavit
 COURT/AGENCY:                     Cook County, Circuit Court, IL
                                   Case # 2015C002896
 NATURE OF ACTION:                  Insurance Litigation - Subrogation - Seeking $496,166.23
 ON WHOM PROCESS WAS SERVED:       C T Corporation System, Atlanta, GA
 DATE AND HOUR OF SERVICE:          By Process Server on 03/26/2015 at 10:03
 JURISDICTION SERVED :              Georgia
 APPEARANCE OR ANSWER DUE:         Within 30 days after receipt, not counting the day of receipt
 ATTORNEY(S) / SENDER(S):          Anthony J. Morrone
                                   Cozen O'Connor
                                   333 W. Wacker Drive, Suite 1900
                                   Chicago, IL 60606
                                   312-382-3100
 ACTION ITEMS:                     CT has retained the current log, Retain Date: 03/26/2015, Expected Purge Date:
                                   03/31/2015
                                   Image SOP
                                   Email Notification, Michael Bell michael.bell@electrolux.com
                                   Email Notification, Timora Wilkerson timora.wilkerson@electrolux.com
 SIGNED:                           C T Corporation System
 ADDRESS:                          1201 Peachtree Street,N.E.
                                   Suite 1240
                                   Atlanta, GA 30361
 TELEPHONE:                        404-965-3840




                                                                          Page 1 of 1 / JJ
                                                                          Information displayed on this transmittal is for CT Corporation's
                                                                          record keeping purposes only and is provided to the recipient for
                                                                          quick reference. This information does not constitute a legal
                                                                          opinion as to the nature of action, the amount of damages, the
                                                                          answer date, or any information contained in the documents
                                                                          themselves. Recipient is responsible for interpreting said
                                                                          documents and for taking appropriate action. Signatures on
                                                                          certified mail receipts confirm receipt of package only, not
                                                                          contents.
            Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 16 of 19 PageID #:16

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    2120 - Served                     2121 - Served
    2220 - Not Served                 2221 - Not Served
    2320 - Served By Mail             2321 - Served By Mail
    2420 - Served By Publication      2421 - Served By Publication
    SUMMONS                           ALIAS - SUMMONS                                                            (2/28/11) CCG N001

                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                             COUNTY DEPARTMENT, LAW                     '70,IYIWN',) V-196
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                                                                                              TIME 00 g 00
                                                                                              P cup- e ty Darn
                                                                                      No.

                                                                                      TO: Electrolux Home Products, Inc.
     Harleysville Lake States Insurance Company
                                                     (Name all parties)               do CT Corporation System, 1201 Peachtree Street, NE,
                               V.
                                                                                      Atlanta, Georgia 30361
            L%       1
   [ElectroluxKliirth America, Inc and Electrolux Home Products, Inc.
Lj                              k/

                                         C) SUMMONS ()ALIAS SUMMONS
    To each Defendant:

           YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is
    hereto attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
    following location:
           0 Richard J. Daley Center, 50 W. Washington, Room 801                      , Chicago, Illinois 60602

          O     District 2- Skokie            0 District 3 - Rolling Meadows                O District 4 - Maywood
                5600 Old Orchard Rd.              2121 Euclid                                 1500 Maybrook Ave.
                Skokie, IL 60077                  Rolling Meadows, IL 60008                   Maywood, IL 60153
           O    District 5- Bridgeview        CI District 6 - Markham                       O Child Support
                10220 S. 76th Ave.               16501 S. Kedzie Pkwy.                        28 North Clark St., Room 200
                Bridgeview, IL 60455             Markham, IL 60428                            Chicago, Illinois 60602
    You must file within 30 days after service of this Summons, not counting the day of service.
    IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF
    REQUESTED IN THE COMPLAINT.
    To the officer:

           This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
    of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed.
    This Summons may not be served later than 30 days after its date.

    Atty. No.: 32782                                                      WITNESS,
    Name: Anthony J. Morrone, Cozen O'Connor
    Atty. for: Harleysville Lake States Insurance Company
                                                                             DOROTHY BROVVI\r-' MAR 2 0 11:05
    Address: 333 W. Wacker Drive, Suite 1900
    City/State/Zip: Chicago, Illinois 60606                               Date of service:
    Telephone: (312) 382-3100                                                   (To be inserted by officer on copy left with defendant
                                                                                 or other person)
    Service by Facsimile Transmission will be accepted at:
                                                                          (Area Code) (Facsimile Telephone Number)

                 DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
           Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 17 of 19 PageID #:17


2120 - Served                         2121 - Served     e
2220 - Not Served                     2221 - Not Served
2320 - Served By Mail                 2321 - Served By Mail
2420 - Served By Publication          2421 - Served By Publication
SUMMONS                               ALIAS - SUMMONS                                                        (2/28/11) CCG N001

                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                         COUNTY DEPARTMENT, LAW                    2OLVISIOAD 2 8 9 6
                                                                                           CALENDAR/ROOM D
                                                                                           TIME 00'g.00
                                                                                           Property Damase
                                                                                  No.

                                                                                  TO: Electrolux Home Products, Inc.
Harleysville Lake States Insurance Company
                                          (Name all parties)                      do CT Corporation System, 1201 Peachtree Street, NE,
                        V.
                                                                                  Atlanta, Georgia 30361
Electrolux North America, Inc. and Electrolux Home Products, Inc.


                                       0 SUMMONS 0 ALIAS SUMMONS
To each Defendant:

       YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is
hereto attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:

       0 Richard J. Daley Center, 50 W. Washington, Room 801                       , Chicago, Illinois 60602               11:1
                                                                                                                           hi

      O     District 2 - Skokie              O   District 3 - Rolling Meadows            O District 4 - Maywood            C-J


            5600 Old Orchard Rd.                 2121 Euclid                               1500 Maybrook Ave.
            Skokie, IL 60077                     Rolling Meadows, IL 60008                 Maywood, IL 60153
       O    District 5 - Bridgeview         O    District 6 - Markham                 O Child Support
            10220 S. 76th Ave.                   16501 S. Kedzie Pkwy.                  28 North Clark St., Room 205,
            Bridgeview, IL 60455                 Markham, IL 60428                      Chicago, Illinois 60602    kl
You must file within 30 days after service of this Summons, not counting the day of service.
IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF
REQUESTED IN THE COMPLAINT.
To the officer:

       This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed.
This Summons may not be served later than 30 days after its date.

Atty. No.: 32782                                                      WITNE                       84164
Name: Anthony J. Morrone, Cozen O'Connor
                                                                                                                   IIAR 2 0 206
Atty. for: Harleysville Lake States Insurance Company
Address: 333 W. Wacker Drive, Suite 1900
City/State/Zip: Chicago, Illinois 60606
                                                                      Date of serv
Telephone: (312) 382-3100                                                    (To be i                        py left with defendant
                                                                              or other

Service by Facsimile Transmission will be accepted at:
                                                                      (Area Code) (Facsimile Telephone Number)

             DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
          Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 18 of 19 PageID #:18



2120 - Served                     2121 - Served
2220 - Not Served                 2221 - Not Served
2320 - Served By Mail             2321 - Served By Mail
2420 - Served By Publication      2421 - Served By Publication
SUMMONS                           ALIAS - SUMMONS                                                           (2/28/11) CCG N001

                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                         COUNTY DEPARTMENT, LAW                     ',.:111Y1.SigiNflr!".                        6
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                                                                                 No.

                                                                                 TO: Electrolux Home Products, Inc.
Harleysville Lake States Insurance Company
                                                 (Name all parties)              do CT Corporation System, 1201 Peachtree Street, NE,
                           v.
                                                                                 Atlanta, Georgia 30361
Electrolux North America, Inc. and Electrolux Home Products, Inc.


                                      0 SUMMONS °ALIAS SUMMONS
To each Defendant:
       YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is
hereto attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:
      C) Richard J. Daley Center, 50W. Washington, Room 801                       , Chicago, Illinois 60602
      O     District 2 - Skokie           0 District 3 - Rolling Meadows               O District 4.- Maywood
            5600 Old Orchard Rd.              2121 Euclid                                1500 Maybrook Ave.
            Skokie, IL 60077                  Rolling Meadows, IL 60008                  Maywood, IL 60153

      O     District 5 - Bridgeview       CI District 6 - Markham                      O Child Support
            10220 S. 76th Ave.                16501 S. Kedzie Pkwy.                      28 North Clark St., Room 200
            Bridgeview, IL 60455              Markham, IL 60428                          Chicago, Illinois 60602
You must file within 30 days after service of this Summons, not counting the day of service.
IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF
REQUESTED IN THE COMPLAINT.
To the officer:
       This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed.
This Summons may not be served later than 30 days after its date.

Atty. No.: 32782                                                      WITNESS,
Name: Anthony J. Morrone, Cozen O'Connor
Atty. for: Harleysville Lake States Insurance Company
                                                                        DOROTHY 8ROWN7                          MAR 2 0 201,5
Address: 333 W. Wacker Drive, Suite 1900
City/State/Zip: Chicago, Illinois 60606                               Date of service:
Telephone: (312) 382-3100                                                   (To be inserted by officer on copy left with defendant
                                                                             or other person).

Service by Facsimile Transmission will be accepted at:
                                                                      (Area Code) (Facsimile Telephone Number)

             DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
          Case: 1:15-cv-03629 Document #: 1 Filed: 04/24/15 Page 19 of 19 PageID #:19



2120 - Served                     2121 - Served
2220 - Not Served                 2221 - Not Served
2320 - Served By Mail             2321 - Served By Mail
2420 - Served By Publication      2421 - Served By Publication
SUMMONS                           ALIAS - SUMMONS                                                           (2/28/11) CCG N001

                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                         COUNTY DEPARTMENT, LAW                     AllYt,I909.6
                                                                                         E,At,L':NE--.124R/ROOM
                                                                                         TIME 00:00
                                                                                         ProPec--ty Ciam89e
                                                                                 No.

                                                                                 TO: Electrolux Home Products, Inc.
Harleysville Lake States Insurance Company
                                                 (Name all parties)              c/o CT Corporation System, 1201 Peachtree Street, NE,
                           V.
                                                                                 Atlanta, Georgia 30361
Electrolux North America, Inc. and Electrolux Home Products, Inc.


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             DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
